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Law Offices of Genesis A. Peduto
Suzy Yengo, Esq., of counsel (018041999)
8512 Kennedy Boulevard
North Bergen, New Jersey 07047
Tel. 201-868-2240
gpedutoesq@aol.com; suzyroseesq@aol.com
Attorney for the Plaintiff Joan Simon

______________________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY- NEWARK




____________________________________________


JOAN SIMON                                       §
                                                 §
Plaintiff,                                       §
v.                                               §      Civil No. 19CV21271 (JMF/MF)
                                                 §
SAINT DOMINIC ACADEMY;             and           §
GUENDOLYN FERRALES Individually;                 §
JANE DOES 1-5 (fictitious individuals)           §
                                                 §
Defendants                                       §
_____________________________________________


               PLAINTIFF SIMON’S SECOND AMENDED COMPLAINT


       COMES NOW THE PLAINTIFF JOAN SIMON                  and files the Second Amended
Complaint per Fed.R.Civ.P.15 after Removal by Defendants from State of New Jersey, Superior
Court, Hudson Vicinage (HUD-L-004248-19). This Amended Complaint is filed in compliance
with Order (DE#19) dated April 28, 2021.

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       Plaintiff JOAN SIMON, by way of Second Amended Complaint against Defendants, says
the following:


                                            1.       PARTIES

       1. Plaintiff Joan Simon is an individual residing in the State of New Jersey.      Plaintiff
Simon is not a minister, a member of the clergy, nor does/did she engage in any ministerial and
ecclesiastical acts on behalf of her former employer.


       2. Upon information and belief, Defendant Guendolyn Ferrales is an individual who
resides within the State of New Jersey; she is currently the Dean for the Defendant Saint
Dominic Academy. Defendant Saint Dominic Academy is a private college-preparatory for girls
seventh through twelfth grades with a principal place of business at 2572 Kennedy Boulevard,
County of Hudson, State of New Jersey 07304.         It is one of the oldest independent secondary
schools in New Jersey. Students of all and no denominations are invited to attend the school.

       3.        The fictitious individuals Jane Does 1-5 are unknown individuals who Plaintiff
believes may have participated and conspired in with the illegal acts of Defendant Farrales and
Defendant Saint Dominic Academy.




                                   2.     JURISDICTION & VENUE


       4. All actions alleged herein occurred and transpired in County of Hudson and this
vicinage is the proper venue. In October 2019 the Complaint (HUD-L-004248-19) was filed in
State Court; the Summons with Complaint was served on November 11, 2019. The Notice of
Removal pursuant to the 28 U.S.C. §1441 was filed December 11, 2019 (DE#1).


       5.        The U.S. District Court’s jurisdiction is invoked under 28 U.S.C. §1331, §1343
(a)(4) and 29 USC §2617.


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        6.       The Court has supplemental jurisdiction over Plaintiff Simon’s state law causes
of action under 28 U.S.C. §1367(a).

        7.       The unlawful employment practices described herein were committed in the
District of New Jersey. Accordingly, venue lies within this District per 28 U.S.C. §1391(b)(1)
and/or (b)(2).


                                 3.      FACTUAL BACKGROUND


        8.       Until October 9, 2018 termination Plaintiff was an employee of Defendant Saint
Dominic Academy; Plaintiff Simon held the position of teacher; Plaintiff Simon was not a
member of the clergy nor a minister; she did not perform ecclesiastical acts. Further, Plaintiff
Simon never held herself out as a religious nor claimed any special tax allowances or incentives
as she was not exempt as a minister. Plaintiff Simon taught; she was and is an educator.


        9. At the time of her illegal and unlawful termination, Defendant Guendolyn Farrales
was the Dean of the Defendant Saint Dominic Academy; she along with several other
administrators, lacked the proper credentials to hold their positions either by credentialing
mandates, Diocese requirements, or accreditation requirements. Defendant Farrales continues in
that position.

        10. Plaintiff Joan Simon was replaced in the classroom position by an individual, under
the age of 30; upon information and belief age 23 at time of the termination, without a teaching
certification, and without any experience. No disclosure was made to the Parents of the Students
of this non-credentialed teacher entering the classroom.


        11. Immediate prior to the termination, Plaintiff Simon’s father-in-law had died the
evening prior.    Plaintiff Simon was terminated without due process which typically includes
written advisement, discussion, perhaps a hearing, and demonstration of good cause. There is an
employee handbook that was not followed. The Defendants took no actions to detect violations
of the policy or handbook of the Defendant Academy had been effectuated by other similar


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situated employees of the Defendant Academy. The pretext for termination allegedly dated back
to September 10, 2018. Termination was made the day Plaintiff Simon returned from sick leave
after she had been involved in a motor vehicle accident.


       12. Plaintiff Simon is an experienced professional with over four decades of being an
educator, specifically in teaching theology, and overseeing the Religion Department and Campus
Ministry for Defendant Saint Dominic. Plaintiff Simon has a Masters in Theology and a Masters
in Educational Administration along with a New Jersey Principal’s license. Plaintiff Simon was
replaced by a person with an English Degree, on the promise of employment in 2019-2020.


       13.       Plaintiff Simon had frequently made violations of the law and violations of
educational process known to the Defendant Academy’s Administration. Those violations
included, but not limited to, as permitted by Sarah Degnan and refused by Sister Marylou
Bauman, as permitted by Sarah Degnan:

                Defendant Saint Dominic Academy failed to conduct monthly fire drills;
                Defendant Saint Dominic Academy failed and refused to include “Lock Down
                 Procedures” for the student body;
                Students’ medical records are not kept up-to-date;
                Students were left unattended throughout the school day and after school;
                Students are left after school, as Administrators leave the grounds when the
                 students complete their academic schedule. Sports meetings are held after school
                 without coaches being there; Students go to Lincoln Park without supervision;
                Drug use in the building has been observed; the Administration was advised.
                 When Plaintiff Simon divulged this information to Sister Marylou Bauman, the
                 latter stated, “there were not any drugs used and to mind your own business.”
                 Plaintiff Simon observed students coming to school high on coke and marijuana.
                Sister Marylou Bauman refused to take action on Bullying Complaints. Sister
                 refused to address the student responsible for bullying, while the victim stayed out
                 of school for an extended period of time;



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            Sister Marylou Bauman went on the PA System and described the female students
             as “whores” for wearing their uniforms too short, as a neighbor complained to the
             school. The upset students were greeting each other the next day, “Hi, Whore!”
             To demonstrate the farcical nature of their acts, the Administration called an
             Assembly the next day and told the students, “Sister never said that.”
            Sister Marylou Bauman demeaned the President of the Student Council by
             making her get on her hands and knees to clean up spilled coffee. The Student’s
             Parents were furious and when complaining to the Head of School, they were told
             to “take it further if they wish, “ as nothing was done to Sr. Bauman.


            The Defendant Administration lacks credentials for their positions coupled with
             the Defendants failure to adhere to their own policies, demonstrates the
             unconstitutional acts of discrimination and retaliation carried out by the
             Defendants:


                    -Head of School Sarah Degnan has an Administration Degree but no
                    Principal’s License;


                    -Not one Administrator has their credentials for the State of New Jersey;


                    -Academic Dean, Individual Defendant Guendolyn Ferrales, has a
                    Bachelor’s Degree from the Philippines. She does not have the Master’s
                    Degree that is required on her position;


                    -Sr. Marylou Bauman does not have a Master in Administration, only in
                    Guidance and English;
                    - Director of Admissions has a Bachelor’s Degree in Early Childhood;


            Defendant Saint Dominic Administration does not observe Confidentiality and
             Privacy Act rights as they have discussed termination of Plaintiff Simon, Lori
             Palmeri, Jim German, and Chris Kempt publicly and openly;

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                Sr. Marylou Bauman maintains her own finance account, in which money raised
                 by the Students was improperly taken by Sr. Bauman for uses other than intended.
                 Plaintiff Simon brought this to the attention of Head of School. Sr. Bauman
                 refused to deliver funds to the Finance Department.
                Head of School Sarah Degnan has taken her minor daughter on class trips,
                 including overnights, for which the minor daughter is taking a seat of student that
                 was not permitted to go/attend;
                Most faculty members are not Certified in their subject area. This is not disclosed
                 to Parents who remit tuition for subject matter experts;
                Defendant Saint Dominic Academy refuses to comply with the 180 days of school
                 requirement of the State of New Jersey.




       14. Likewise, during her tenure as a department chairperson Plaintiff Simon made the
aforementioned incidents known to the Defendant SDA and the Individual Defendant Farrales,
as well as other administrators of SDA.


       15.       On October 9, 2018, Defendant Saint Dominic Academy unlawfully and illegally
terminated Plaintiff Simon’s employment at the direction of Defendant Sarah Degnan, Head of
School with Guendolyn Farrales, and Sharon Buge (Administrators in attendance), Defendant
Saint Dominic Academy, with the assistance and conspiring by Sr. Marylou Bauman. Plaintiff
Simon was replaced in the classroom by an individual without a teaching certification, younger
in age (23), and unqualified to teach the classes and instruction previously assigned to Plaintiff
Simon. This tangible employment action had nothing to do with Plaintiff Simon’s performance.



       16.       Defendant SDA and individual defendants must adhere to complying with
neutral civil laws of general applicability; they have failed to do so. The defendants receive and
benefit from no immunity of such laws broken in this lawsuit. Nothing Plaintiff Simon did
burdened any religious practice of SDA. Plaintiff Simon is a member of protected classes: age,
disability, and protected activity of FMLA, and NJFLA.            Defendants’ asserted reasons for


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termination in firing Plaintiff Simon were pretextual.      The termination was not based on
performance issues. Individual Defendants never investigated nor questioned any other
employees if they violated the employee handbook or SDA policies.


                                     4. CAUSES OF ACTIONS




                                         FIRST COUNT
                           (New Jersey Law Against Discrimination,
                          N.J.S.A. 10:5-1 to -42 – Age Discrimination)

       17.     Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if
       set forth at length herein.


       18.     N.J.S.A. §10:5-12d prohibits an employer from retaliating against a person
       because she opposes a practice or action that is unlawful under the New Jersey Law
       Against Discrimination (“NJLAD”).


       19.     Plaintiff Simon’s complaint continued caring about the Academy and the
       complaints of how she was being treated based on her age, constituted protected activity.


       20.     Thereafter, as a result of the protected activity, Defendant Saint Dominic
       Academy, Defendant Farrales, Defendant Sarah Degnan, and others unlawfully retaliated
       against Plaintiff Simon in violation of NJLAD.


       21.     Said retaliation included, inter alia, creating a hostile work environment, denying
       benefits under the employment agreement, employee handbook, and contract, and
       thereafter terminating her employment on October 9, 2018. Plaintiff Simon was replaced
       by a younger employee (age 23), who lacked credentials to even teach. This tangible
       employment action had nothing to do with Plaintiff Simon’s performance.




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        22.         Defendant SDA’s conduct was egregious, willful and wanton and in reckless
        disregard of Plaintiff Simon’s rights, and involved the participation of Defendant Saint
        Dominic Academy’s Upper Management, thereby warranting an award of punitive
        damages.
        23.         In taking actions that she knew were a breach of SDA’s duty under NJLAD, and
        knowingly giving substantial assistance or encouragement to the unlawful conduct of
        their employer, Defendant Farrales and Defendant Sarah Degnan are individually liable
        under NJLAD.


        24.         As a result of the Defendants’ unlawful conduct, Plaintiff Simon suffered
        economic damages including loss of income and benefits and also suffered emotional
        distress.


        WHEREFORE, Plaintiff Simon demands that judgment be entered against Defendants
SDA, Defendant Sarah Degnan, and Defendant Farrales awarding her compensatory damages,
inclusive of front and back pay, emotional distress damages; punitive damages; reasonable
attorney's fees and expenses pursuant to N.J.S.A. § 10:5-27.1 and any other relief the Court
deems proper and just.




                                             SECOND COUNT
                                 (New Jersey Law Against Discrimination,
                             N.J.S.A. 10:5-1 to -42 – Disability Discrimination)

        25.     Plaintiff Simon hereby repeats and realleges all of the allegations set forth above
as if set forth at length herein.
        26.     Plaintiff Simon suffered from disabling conditions that with an accommodation
could, and did, perform the functions of her position and profession. Defendant SDA ignored
their requirements of the law, and failed to accommodate Plaintiff Simon.



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        27.     Defendant Saint Dominic Academy termination Plaintiff Simon’s employment
constituted an unlawful employment action in violation of NJLAD. This tangible employment
action had nothing to do with Plaintiff Simon’s performance.


        28.     In taking actions that they knew were a breach of Defendant Saint Dominic
Academy’s duty under NJLAD, and knowingly giving substantial assistance or encouragement
to the unlawful conduct of her employer, Defendant Guendolyn Farrales, and Defendant Sarah
Degnan are individually liable under NJLAD.


        29.     As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff
Simon has suffered economic and emotional damages.


        30.     Because of the involvement of members of upper management, Defendants are
liable for punitive damages.


                WHEREFORE, Plaintiff Simon demands that a judgment be entered against
Defendants SDA, Defendant Sarah Degnan, and Defendant Farrales awarding i) compensatory
and punitive damages; ii) reasonable attorney's fees and expenses pursuant to N.J.S.A. § 10:5-
27.1; and iii) such other relief as this Court deems just and proper.



                                             THIRD COUNT
                                (New Jersey Law Against Discrimination,
                           N.J.S.A. 10:5-1 to -42 – Hostile Work Environment)

        31.     Plaintiff Simon hereby repeats and realleges all of the allegations set forth above
as if set forth at length herein.
        32.     NJLAD prohibits creation of a hostile work environment through harassment.
        33.     The harassment to which Plaintiff Simon was subjected, as further described in
paragraphs above, was sufficiently severe or pervasive that a reasonable person would have
deemed it to be hostile, abusive, intimidating, or offensive.
        34.     This harassment would not have occurred but for Plaintiff’s Simon’s age.
        35.     The aforementioned constituted a hostile work environment.


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        36.    Because they delegated to Defendant Farrales, and Defendant Sarah Degnan the
authority to control Plaintiff Simon’s working environment, and Defendant Saint Dominic
Academy abused that authority to create a hostile work environment, Defendant Saint Dominic
Academy may be held liable.


        37.    Although Plaintiff complained to her direct supervisor as well as to the Defendant
Farrales, Defendant Sarah Degnan, Defendant Saint Dominic Academy did not take appropriate
measures.


        38.    In addition, Defendant Saint Dominic Academy was negligent in combating the
creation of a hostile work environment by, inter alia¸ failing to maintain effective sensing or
monitoring mechanisms to check the trustworthiness of its policies and complaint structures.


        39.    This failure to maintain effective sensing or monitoring mechanisms is evidenced
by, inter alia, both Defendant Farrales, Defendant Sarah Degnan, and Sr. Marylou Bauman
previous inappropriate conduct toward other SDA employees, as well Plaintiff Joan Simon
directly.


        40.    As evidenced by, inter alia, the open and notorious manner in which Defendant
SDA’s Administrators conducted their “pursuit” of Plaintiff JOAN SIMON and the inappropriate
conduct Defendant Farrales, Defendant Saint Dominic Academy failed to demonstrate an
unequivocal commitment from its highest levels that harassment will not be tolerated.


        41.    Defendants’ above-described actions constitute unlawful employment actions in
violation of NJLAD including, inter alia, N.J.S.A. § 10:5-12a.


        42.    In taking actions that she knew were a breach of Defendant Sarah Degnan and
Defendant Farrales’ duty under NJLAD, and knowingly giving substantial assistance or
encouragement to the unlawful conduct of her employer, Defendant Farrales and Defendant
Sarah Degnan are individually liable under NJLAD.


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       43.       As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff
Simon has suffered economic and emotional damages.


       44.       Because of the involvement of members of upper management of the academy,
Defendants are liable for punitive damages.


                 WHEREFORE, Plaintiff JOAN SIMON demands that a judgment be entered
against Defendants SDA, Defendant Sarah Degnan, and Defendant Guendolyn Farrales awarding
i) compensatory and punitive damages; ii) reasonable attorney's fees and expenses pursuant to
N.J.S.A. § 10:5-27.1; and iii) such other relief as this Court deems just and proper.



                                     FOURTH COUNT
                         (Termination in Violation of the New Jersey
                      Law Against Discrimination, N.J.S.A. 10:5-1, et seq.)

45.    Plaintiff Simon repeats and re-alleges each and every prior allegation as if set forth at
length herein.

46.    Defendant SDA never articulated reasons for terminating Plaintiff’s employment—that
she was returning from sick leave-- was a pretext. In fact, Plaintiff Simon was terminated for
being out for a period of time after a motor vehicle accident. Plaintiff was terminated on October
9, 2018 without warning, and after her father-in-law had died a night previous. Defendants
never stated their reasons were ministerial. Defendants never took any actions to detect whether
any of its other employees violated or breached the SDA handbook. In fact, none of the specific
statements in the handbook was ever identified as being violated and thus the reason for the
termination; it did not exist. This tangible employment action had nothing to do with Plaintiff
Simon’s performance.




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47.       In taking actions that they knew were a breach of SDA’s duty under NJLAD, and
knowingly giving substantial assistance or encouragement to the unlawful conduct of their
employer, Defendant Farrales and Defendant Sarah Degnan are individually liable under
NJLAD.

48.       Defendants’ conduct was egregious, willful and wanton and in reckless disregard of
Plaintiff’s rights for which punitive damages are appropriate, and involved Defendant Saint
Dominic Academy’s upper management participation.

49.       As a result of the Defendants’ unlawful conduct, Plaintiff Simon suffered economic
damages including loss of income and benefits and emotional distress.

          WHEREFORE, Plaintiff Simon demands judgment against Defendants SDA and
Defendant Farrales awarding her compensatory damages, inclusive of front and back pay;
emotional distress damages; punitive damages; reasonable attorney's fees and expenses pursuant
to N.J.S.A. § 10:5-27.1 and such other relief and damages the Court deems proper and just.




                                   FIFTH COUNT
                (Differential Treatment in Violation of the New Jersey
      Law Against Discrimination, N.J.S.A. 10:5-1, et seq., Religious Discrimination)

50.       Plaintiff repeats and re-alleges each and every prior allegation as if set forth at length
herein.


51.       Defendant Saint Dominic Academy’s failure to maintain employment of Plaintiff Simon
was, in whole or in part, due to her religious beliefs; those beliefs are consistent with the Roman
Catholic Church (a belief system the Defendant Academy seems to be diverging away).


52.       Defendant SDA through their administrators treated Plaintiff Simon differently based
upon her fervent religious beliefs. Segregating Plaintiff Simon from usual department chairs’
meetings, responsibilities, and input to the Defendant SDA curriculum.



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53.     In taking actions that they knew were a breach of Defendant Saint Dominic Academy’s
duty under NJLAD, and knowingly giving substantial assistance or encouragement to the
unlawful conduct of their employer, Defendant Sarah Degnan, and Defendant Farrales are
individually liable under NJLAD.

54.     Defendants’ conduct was egregious, willful and wanton and in reckless disregard of
Plaintiff’s rights for which punitive damages are appropriate, and involved SDA’s Upper
Management participation.

55.     As a result of the Defendants’ unlawful conduct, Plaintiff Simon suffered economic
damages including loss of income and benefits and also suffered emotional distress.

        WHEREFORE, Plaintiff Simon demands judgment against Defendants SDA and
Defendant Guendolyn Farrales awarding her compensatory damages, inclusive of front and back
pay; emotional distress damages; punitive damages; reasonable attorney's fees and expenses
pursuant to N.J.S.A. § 10:5-27.1 and such other relief and damages the Court deems proper and
just.


                                          SIXTH COUNT

                                Violations of N.J.S.A. §34:15-39.1:, et seq

56.     Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if set forth
at length herein.


57.     Under the N.J.S.A. § 34:15-39, et seq., Defendant was required to restore Plaintiff Simon
“to the position of employment held” when she left for leave, or to “an equivalent position with
equivalent employment benefits, pay, and other terms and conditions of employment.”


58.     Defendant violated §34:15-39, et seq. when it terminated Plaintiff Simon upon her return
to work following leave. This tangible employment action had nothing to do with Plaintiff
Simon’s performance.




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        WHEREFORE, Plaintiff Simon demands judgment against the defendant Saint Dominic
Academy, Defendant Sarah Degnan, and Defendant Farrales for damages, together with interest
and costs of suit.

                                          SIXTH COUNT

                 Family Medical Leave Act, 29 U.S.C. §2601, et seq. Violations

59.     Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if set forth
at length herein.


60.     Under the FMLA, 29 U.S.C. §2601, et seq. Defendant SDA was required to restore
Plaintiff “to the position of employment held” when she left for leave, or to “an equivalent
position with equivalent employment benefits, pay, and other terms and conditions of
employment.”


61.     Defendant SDA violated FMLA when it terminated Plaintiff upon her return to work
following leave. The U.S. Department of Labor’s Wage and Hour Division (WHD) has
promulgated additional rules and procedures for determining who is entitled to leave. See 29
U.S.C. § 2611 et seq., 29 C.F.R. Part 825. Employers cannot interfere with the rights guaranteed
by the FMLA, and they may be liable to aggrieved employees for damages if they do. 29 U.S.C.
§§ 2615, 2617. This tangible employment action had nothing to do with Plaintiff Simon’s
performance.


62. As a direct and proximate result of Defendant SDAs’ actions Plaintiff Simon suffered
injuries and damages.


WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on this Cause of Action and seeks the following relief: (i) compensatory and punitive
damages; (ii) pre-judgment interest; (iii) reinstatement with back pay; and (iv) such other relief
as this Court deems just and proper.




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                                       SEVENTH COUNT

                     SAINT DOMINIC ACADEMY—Breach of Contract

63.    Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if set forth
at length herein.


64.    The Employee Manual and the rules of the workplace, as described supra, created a
contract between Plaintiff Simon and Defendant Saint Dominic Academy because the
document’s plain language led her to reasonably believe that the company's policies regarding,
inter alia, job security would be honored and therefore obviate the need be harassed and subject
to a hostile work environment.


65.    In firing Plaintiff Simon without just cause and failing to inform Plaintiff Simon of her
statutory rights under the leave requirements Defendant Saint Dominic Academy failed to
discharge its contractual duties as set forth in the Manual. Similarly, Defendant SDA committed
an additional breach when, in contravention of the Manual’s mandate, it failed to “to look after
JOAN SIMON’s interests” and make a good faith effort to accommodate JOAN SIMON after
she suffered the aforementioned disabling conditions. This tangible employment action had
nothing to do with Plaintiff Simon’s performance.


66.    Due to these stated breaches of contract, plaintiff was damaged.


WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on the Cause of Action and seeks the following relief: (i) compensatory damages; (ii)
pre-judgment interest; and (iii) such other relief as this Court deems just and proper.




                                        EIGHTH COUNT

                                 Breach of the Implied Covenant
                                 of Good Faith and Fair Dealing



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67.     Plaintiff Simon hereby repeats and realleges all of the allegations set forth above as if set
forth at length herein.


68.     Under New Jersey law, all contracts contain an implied covenant of good faith and fair
dealing (“the Implied Covenant”).


69.     Under the Implied Covenant, neither party may do anything that will thwart the other
party’s expectation or purpose under the contract and/or deprive that party of the benefit of the
contract.


70.     In terminating Plaintiff Simon notwithstanding its knowledge that good cause for
discharge did not exist, in failing to inform her of her statutory rights for leave, and in neglecting
to make a bona fide attempt to accommodate Plaintiff Simon disabling condition(s), Defendant
Saint Dominic Academy breached the Implied Covenant. This tangible employment action had
nothing to do with Plaintiff Simon’s performance.


71.     As a direct and proximate result of Defendant Saint Dominic Academy’s breach of the
Implied Covenant, Plaintiff Simon has been damaged.


WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on this Cause of Action and seeks the following relief: (i) compensatory and punitive
damages; (ii) pre-judgment interest; (iii) reinstatement with back pay; and (iv) such other relief
as this Court deems just and proper.



                                         NINTH COUNT
               RETALIATION FOR TAKING INTERMITTENT FMLA




72.    Plaintiff Simon hereby repeats and re-alleges all of the allegations set forth above as if set
forth at length herein.


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73.       Defendant SDA, an employer under the federal statute is na employer within the meaning
of the FMLA.


74.       Plaintiff is an “eligible employee,” as that term is defined under the FLMA.


75.       As set forth herein Defendants retaliated against Plaintiff Joan Simon for taking multiple,
intermittent leave to care for herself and the family member.


76.       Plaintiff Simon’s use of the leave was a determinative factor in terminating Plaintiff
Simon. Defendants’ actions were willful, as that term is defined under FMLA, 28 U.S.C. 2611,
et seq.


77.       Plaintiff Simon’s employment was not reinstated, even after she requested reinstatement.
As a result of the Defendants’ actions she suffered a loss of income, benefits, and additional
damages.


78.       Defendants’ actions taken against Plaintiff Simon were willful, as the term is defined
under the FMLA.


WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on this Cause of Action and seeks the following relief: (i) compensatory and punitive
damages; (ii) pre-judgment interest; (iii) reinstatement with back pay; and (iv) such other relief
as this Court deems just and proper.


                                         TENTH COUNT
                 Violations of the New Jersey Family Leave Act, N.J.S.A. 4A:6-1, et seq.


79.       Plaintiff Simon hereby repeats and re-alleges all of the allegations set forth above as if set
forth at length herein.



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80.       Defendant SDA is subject to the Family Leave Act. Plaintiff Simon was such one
employee covered under the FLA.


81. Plaintiff Simon’s circumstances warranted leave as there were serious health conditions of a
parent.


82.       Upon return from family leave the employer failed to reinstate Plaintiff Simon to her
position or a position that was comparable in terms of pay, seniority, benefits, and other terms
and conditions of employment.


83.       Under the statutory violations of the FLA, equitable remedies and compensatory damages
are available, as well as punitive damages up to $10,000.00.


84.       WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint
Dominic Academy on this Cause of Action and seeks the following relief: (i) compensatory and
punitive damages; (ii) pre-judgment interest; (iii) reinstatement with back pay; and (iv) such
other relief as this Court deems just and proper.



                                        V. PRAYER

85. WHEREFORE, Plaintiff Simon, requests judgment against Defendants, Saint Dominic
Academy, and Defendant Gwendolyn Farrales:


          a.     Re-establishment of her employment with the Defendant SDA with backpay and
interest. Presentation of a workplace free from hostility, age harassment, retaliation from co-
workers, supervisors, and management;


          b.     Compensatory damages to compensate for the humiliation, embarrassment,
mental anguish and emotional distress Plaintiff endured both at work and outside of work, in the
amount of $350,000.00. Punitive damages in an amount set by jury;



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       c.      Damages for loss of income, back pay, front pay, pension contributions, out of
pocket expenses;


       d.      Attorney’s fees, costs and expenses incurred as a result of the Defendants’ acts, as
provided for by NJLAD, and other applicable federal statutes;
       e.      Any and all other general or specific relief, both at law and in equity, to which
Plaintiff may be justly entitled;




                                       VI.      JURY DEMAND
       Plaintiff JOAN SIMON demands trial by jury on all claims and issues so triable.




                          VII. DESIGNATION OF TRIAL COUNSEL


               Suzy Yengo is hereby designated as trial counsel.


                                             Respectfully submitted,


                                             LAW OFFICES OF GENESIS A. PEDUTO
                                             8512 Kennedy Boulevard
                                             North Bergen, New Jersey 07047
                                             Attorneys for Plaintiff
                                                     Suzy R. Yengo, Esq. /s/
                                             By _____________________
                                                 SUZY R. YENGO, ESQ, of counsel.
Dated: May 28, 2021




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